      2:21-cv-00146-RMG          Date Filed 01/14/21      Entry Number 1        Page 1 of 28




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

                                )
                                )                         MDL NO. 2873
STATE OF NEW JERSEY, DEPARTMENT )
OF ENVIRONMENTAL PROTECTION,    )                         Master Docket No: 2:18-mn-2873
                                )
          Plaintiff,
                                )                         JUDGE RICHARD GERGEL
     v.                         )
                                )                                           2:21-cv-146-RMG
                                                          Civil Action No: ______________
UNITED STATES OF AMERICA,       )
                                )
          Defendant.            )                         COMPLAINT
                                )                         JURY TRIAL DEMANDED
                                )


                                          COMPLAINT

       Plaintiff, the New Jersey Department of Environmental Protection (“NJDEP” and/or

“Plaintiff”), files this Complaint against Defendant the United States of America (“United

States”), because the United States has failed to follow NJDEP’s drinking water standards for

perfluorooctane sulfonic acid (“PFOS”) and perfluorooctanoic acid (“PFOA”). NJDEP has

promulgated enforceable standards—regulating the amount of PFOA and PFOS in both drinking

water and groundwater—in order to protect the health of New Jersey citizens and residents,

including United States servicemen and servicewomen serving in the State. The United States

has waived its sovereign immunity and agreed to follow NJDEP’s health-based standards for

drinking water for its in-state federal facilities. Nonetheless, the United States has not addressed

the imminent and substantial endangerment to the human health of New Jersey’s residents

resulting from sources of PFOA and PFOS contamination in New Jersey’s drinking water

supplies. Thus, New Jersey is bringing this action to require the United States to immediately
     2:21-cv-00146-RMG          Date Filed 01/14/21       Entry Number 1       Page 2 of 28




address ground water contamination at or emanating from its facilities in New Jersey resulting

in the contamination of drinking water supplies with PFOA or PFOS above New Jersey

standards, and to act to protect those in New Jersey consuming such water, and/or to pay the

costs to do the same.

                                STATEMENT OF THE CASE

       1.      This is a civil action brought by NJDEP against the United States pursuant to the

federal Safe Drinking Water Act (“SDWA”), 42 U.S.C. §§ 300f et seq., and the New Jersey Safe

Drinking Water Act (“NJSDWA”), N.J.S.A. §§ 58:12A-1 et seq., to ensure safe drinking water

and to protect the health and safety of New Jersey residents, including personnel living and

working at federal facilities and the surrounding communities.

       2.      This action arises from (1) the discharge, disposal, and failure to contain or

address contaminants discharged at facilities located in the State of New Jersey owned and/or

operated by the United States, including all federal government agencies and departments,

resulting in the ongoing and persistent contamination of public and private drinking water

sources both onsite and offsite such facilities with PFOS and PFOA that presents an imminent

and substantial endangerment to human health and (2) the United States’ failure to take timely

action to address and clean up the contamination of drinking water supplies to New Jersey’s

mandated levels for PFOS and PFOA.

       3.      PFOS and PFOA are two persistent, bioaccumulative, and toxic substances within

the class of manmade chemicals known as per- and polyfluoroalkyl substances (“PFAS”). They

have been described as “emerging contaminants” due to rapid and relatively recent evolving

public awareness regarding their adverse health effects and the technological capabilities for

their detection in soil and groundwater at lower concentrations. Both have been designated as

“hazardous substances” pursuant N.J.A.C. 7:1E, app. A, and both fall within the broad identical

                                                 2
     2:21-cv-00146-RMG          Date Filed 01/14/21      Entry Number 1       Page 3 of 28




definitions of “contaminant” under SDWA and NJSDWA as “any physical, chemical, biological,

or radiological substance or matter in water.” 42 U.S.C. § 300f(6); N.J.S.A. § 58:12A-3(b).

       4.      PFOS and PFOA are highly mobile, persist indefinitely in the environment,

bioaccumulate in individual organisms and humans, and biomagnify up the food chain. PFOS

and PFOA are also associated with a wide variety of adverse health effects in humans. Exposure

to very low levels of PFOA or PFOS in drinking water overwhelms exposures from other

sources, such as food and consumer products, that are prevalent in the general population. PFOS

is associated with immune system suppression, including decreases in antibody responses to

vaccines and increases in the risk of childhood infections. PFOA is associated with, among other

things, high cholesterol, increased liver enzymes, pregnancy-induced hypertension, testicular and

kidney cancer, and immune system suppression, including decreases in antibody responses to

vaccines. Moreover, these toxic endpoint effects occur at extremely minute concentrations and,

in most cases, at levels that are an order of magnitude lower than conventional contaminants.

       5.      In 2016, confronted with PFOS and PFOA contamination, the U.S. Environmental

Protection Agency (“EPA”) issued federal SDWA Lifetime Health Advisories recommending

the individual or combined levels of PFOS and PFOA in drinking water be at or below 70 parts

per trillion (“ppt”). More recently, New Jersey has acted to regulate these contaminants of

emerging concern. Among other things, in June 2020, NJDEP adopted more stringent regulations

establishing maximum contaminant levels (“MCLs”) (which are drinking water standards) and

groundwater quality standards (which are health-based standards applicable to groundwater) for

PFOS and PFOA. For PFOS, those standards are 13 ppt, and for PFOA, those standards are 14

ppt. N.J.A.C. 7:9C-1.7(c)1, 7:10-5.2(a)(5). In enacting the more stringent standards, NJDEP




                                                3
      2:21-cv-00146-RMG          Date Filed 01/14/21      Entry Number 1        Page 4 of 28




concluded that EPA’s Lifetime Health Advisory level of 70 ppt is not sufficiently protective of

human health based on data from both laboratory animal studies and human studies.

       6.      For decades, the United States has released PFAS, including PFOS and/or PFOA,

into the environment from its use, handling, and storage of aqueous film-forming foam (“AFFF”)

at its facilities throughout the United States, including facilities in New Jersey. These actions

have created substantial hot spots of PFAS, including PFOS and PFOA, contamination at federal

facilities across the country, including New Jersey.

       7.      AFFF is used to fight fuel and other flammable liquid fires, as well as for fire

suppression. When the AFFF concentrate is mixed with water, a foam solution is formed. The

foam is sprayed onto fire to produce an aqueous film, which blocks the fire’s supply of oxygen,

generates a cooling effect, creates an evaporation barrier, and prevents re-ignition. The United

States is one of the country’s largest users of AFFF. AFFF contains PFAS, including PFOS

and/or PFOA, and/or their precursors (i.e., substances that break down in the environment into

PFOS or PFOA). When used in accordance with its intended application, AFFF released PFAS,

including PFOS and/or PFOA, into the environment and contaminated New Jersey’s

groundwater, a significant source of drinking water for New Jersey’s residents. As a reference, a

single firefighting training event can release thousands of gallons of foam-laced water into the

environment. In addition to using AFFF to put out actual, and suppress potential, fuel fires, the

United States trained with AFFF at its facilities in New Jersey and has done so for decades.

       8.      Although the United States has taken measures to address the impacts of PFOA

and PFOS in onsite public drinking water wells, the acts of the United States at its facilities in

New Jersey have caused and/or contributed to the contamination that presents an imminent and

substantial endangerment to onsite and offsite drinking water supplies in New Jersey with PFOS



                                                  4
      2:21-cv-00146-RMG           Date Filed 01/14/21    Entry Number 1        Page 5 of 28




and PFOA within the meaning of 42 U.S.C. § 300i and N.J.S.A. § 58:12A-6 due to discharges of

AFFF at the federal facilities.

       9.      Investigation of AFFF-related contamination affecting drinking water supplies in

New Jersey is ongoing and in its incipient stages. Information gathered to date by the United

States from groundwater monitoring wells at federal facilities in New Jersey have shown the

presence of PFOS or PFOA in concentrations ranging up to multiple orders of magnitude higher

than New Jersey’s groundwater quality standards and the federal EPA’s Lifetime Health

Advisory level of 70 ppt. Data collected by EPA from drinking water wells indicates

exceedances of New Jersey’s MCLs for one or both constituents at community drinking water

wells and private wells located within and/or outside the boundaries of various federal facilities

in New Jersey. In some cases, the exceedances and detections are within wellhead protection

areas onsite and/or offsite and, in some cases, involve private wells within or outside wellhead

protection areas. Concentrations of PFOA and PFOS also have been detected below the MCLs

and groundwater quality standards, which present a threat of future exceedance of those

standards as the contaminants continue to migrate unchecked throughout the subsurface

environment at and near the federal facilities. The United States continues to store and use

AFFF—albeit limited to emergency responses—containing PFAS and/or their precursors at its

facilities in New Jersey.

       10.     The United States Congress enacted SDWA in 1974 to ensure that public water

supply systems meet minimum national standards for the protection of public health. SDWA

recognizes that states play an important part in administering and enforcing drinking water

standards.




                                                 5
     2:21-cv-00146-RMG          Date Filed 01/14/21      Entry Number 1       Page 6 of 28




       11.     SDWA provides for a state to obtain “primary enforcement responsibility for

public water systems.” 42 U.S.C. § 300g-2. New Jersey has met the statute’s requirements and

has received authorization from EPA to enforce SDWA program. Accordingly, New Jersey is

empowered by SDWA to enforce that statute. See 44 Fed. Reg. 69003-02 (Nov. 30, 1979).

       12.     New Jersey also enacted its own version of SDWA, NJSDWA, in 1977. Pursuant

to NJSDWA, in addition to the enforcement authorities provided to NJDEP pursuant to that

statute, NJDEP is designated as the agency that has “primary enforcement responsibility under

the Federal Safe Drinking Water Act.” N.J.S.A. § 58:12A-2.

       13.     The actions NJDEP is authorized to undertake in fulfillment of New Jersey’s

enforcement mandate under SDWA and NJSDWA include, but are not limited to: (a)

reimbursement of the costs incurred by NJDEP to investigate violations of SDWA and

NJSDWA, and (b) injunctive relief necessary to address actual, and to prevent threatened,

injuries to New Jersey’s drinking water supplies, including any such injuries and threats that

present an “imminent and substantial endangerment” of the health of New Jersey residents

caused by PFOS and/or PFOA. See 42 U.S.C. § 300i; see also N.J.S.A. § 58:12A-6. NJSDWA

defines “water system” as “a system for providing potable water to any person” and does not

limit the definition to public water systems or wellhead protection areas. N.J.S.A. § 58:12A-3(s).

       14.     Because it has been delegated primary authority for the enforcement of SDWA

program in New Jersey, NJDEP has authority to institute a civil action against the United States

to remedy the PFAS contamination affecting and threatening New Jersey’s drinking water and

drinking water sources pursuant to the “federal agencies” provision of SDWA. See 42 U.S.C. §

300j-6; see also N.J.S.A. § 58:12A-6; 42 U.S.C. § 300i. Pursuant to SDWA’s savings provision

preserving all state law authorities that go beyond those provided under SDWA and waiving



                                                6
      2:21-cv-00146-RMG            Date Filed 01/14/21     Entry Number 1        Page 7 of 28




federal sovereign immunity for claims brought under such authorities, NJDEP is also authorized

to assert claims against the United States pursuant to NJSDWA, including claims under the

imminent and substantial endangerment section of NJSDWA for both public and nonpublic

water systems, including private wells. See 42 U.S.C. § 300j-8(e); N.J.S.A. § 58:12A-6.

       15.      Thus, pursuant to 42 U.S.C. §§ 300i and 300j-8(e), in the case of an “imminent

and substantial endangerment” to human health resulting from discharges of “a contaminant

which is present in or is likely to enter a public water system or an underground source of

drinking water,” NJDEP is authorized to institute a civil action under the federal SDWA against

any person, including the United States, who has “caused or contributed to the endangerment” of

a public water system, as well as under NJSDWA with respect to a public or nonpublic water

system, including private wells.

       16.     Because the PFAS contamination present in or threatening to enter drinking water

supplies poses an imminent and substantial endangerment to human health, NJDEP seeks, inter

alia, injunctive relief; recovery of reasonable costs of any investigation, inspection, or

monitoring that led to the discovery of the violation; recovery of reasonable costs incurred and to

be incurred by New Jersey in removing, correcting, or terminating the adverse effects resulting

from the United States’ violation, including costs to determine the extent of contamination

emanating from the federal facilities; and an order requiring the United States to remediate to

acceptable levels , provide alternative water supplies to residents whose drinking water has been

impacted, and/or conduct medical monitoring for New Jersey residents who have been exposed

to PFAS contamination in drinking water supplies. See N.J.S.A. § 58:12A-6. Furthermore,

pursuant to § 300i of SDWA, NJDEP seeks injunctive relief ordering the United States to control

the source of PFOS and PFOA that is contributing to the imminent and substantial endangerment



                                                  7
      2:21-cv-00146-RMG         Date Filed 01/14/21       Entry Number 1       Page 8 of 28




to the health of New Jersey residents and to clean up the PFOS- and PFOA-contaminated soils

endangering New Jersey’s drinking water and drinking water sources to New Jersey MCL levels.

                                         THE PARTIES

       17.     Plaintiff NJDEP is a principal department within the Executive Branch of the

State government. NJDEP maintains its principal offices at 401 East State Street, Trenton, New

Jersey 08608. Pursuant to the authority vested in the Commissioner of NJDEP by N.J.S.A. §

13:1D-1 et seq., NJDEP is vested with the authority to conserve natural resources, protect the

environment, prevent pollution, and protect the public health and safety. See N.J.S.A. §§ 13:1D-

9, 58:10-23.11b, 58:10A-3. EPA has delegated NJDEP to act as the primary agency for the

enforcement of the SDWA in New Jersey. See 44 Fed. Reg. 69003-2 (Nov. 30, 1979). NJSDWA

authorizes NJDEP to institute a civil action under NJSDWA. See N.J.S.A. § 58:12A-6.

       18.     Defendant the United States of America, including all federal government

agencies and departments responsible for the acts alleged in this action, is a sovereign nation and

national government and maintains offices at the offices of the President at the White House,

1600 Pennsylvania Avenue, Washington, D.C. 20500.

                                JURISDICTION AND VENUE

       19.     This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331,

28 U.S.C. § 1346, and 28 U.S.C. § 1367.

       20.     This Court has the authority to grant declaratory relief, 28 U.S.C. § 2201, as well

as further relief requested in this Complaint, including injunctive relief, 28 U.S.C. § 2202.

       21.     The home venue for this action is proper in the United States District Court for

the District of New Jersey pursuant to 28 U.S.C. § 1391, because the acts described in this

Complaint occurred in the District of New Jersey.



                                                 8
      2:21-cv-00146-RMG            Date Filed 01/14/21      Entry Number 1        Page 9 of 28




       22.        This Complaint is being filed directly into the AFFF Multi District Litigation

currently pending in the United States District Court for the District of South Carolina—In re:

Aqueous Film-Forming Foams Products Liability Litigation, 2:18-mn-02873-RMG (D.S.C.)—

pursuant to Case Management Order (“CMO”) 3 [Dkt. No. 72] for pretrial proceedings only.

Plaintiff does not waive its designated home venue of the United States District Court for the

District of New Jersey where Plaintiff would have filed this Complaint but for the CMO

permitting direct filing in the United States District Court for the District of South Carolina..

       23.        Because this action does not constitute a citizen’s civil action under 42 U.S.C. §

300j-8, there is no prerequisite for Plaintiff to provide notice as would be required pursuant to

that provision.

       24.        The United States has waived its sovereign immunity under SDWA, specifically,

42 U.S.C. § 300j-6(a)(2) and 42 U.S.C. § 300h-7(h).

                                    FACTUAL ALLEGATIONS

                                             Groundwater

       25.        Groundwater—that is, water that exists beneath the Earth’s surface—is an

extremely important natural resource for the people of New Jersey. More than half of New

Jersey’s population, or roughly 4.5 million people, obtains drinking water from groundwater

sources, and more than 900 million gallons of water per day are used for that purpose.

       26.        Private and public wells, which provide access to groundwater, are used in

residential communities surrounding the federal facilities where AFFF was transported, stored,

used, released, spilled, and/or disposed. Wells are used for drinking water, cooking, showering,

as well as irrigation, among other things.

       27.        AFFF is a significant source of PFOS and PFOA contamination in groundwater.



                                                   9
     2:21-cv-00146-RMG           Date Filed 01/14/21       Entry Number 1         Page 10 of 28




        28.     Investigations at the United States facilities and their surrounding communities in

New Jersey have revealed elevated levels of PFOS and PFOA in groundwater and/or drinking

water wells at and surrounding those facilities, which include but are not limited to, the Joint

Base McGuire-Dix-Lakehurst, Naval Weapons Station Earle, and the Naval Air Warfare Center

Trenton.

                                                AFFF

        29.     AFFF is a fire-suppressing foam used to extinguish flammable liquid fires,

including jet-fuel fires, aviation-related fires, hangar fires, ship fires, and chemical fires and is

also routinely used to train firefighters and test firefighting equipment. AFFF has been purchased

and used by the United States at its New Jersey facilities for decades.

        30.     AFFF contains PFAS and/or their precursors, which are highly fluorinated

synthetic chemical compounds that include carbon chains containing at least one carbon atom on

which all hydrogen atoms are replaced by fluorine atoms. The PFAS family includes PFOS and

PFOA.

        31.     When used as intended during a firefighting event or training exercise, AFFF can

cause hundreds, if not thousands, of gallons of foamy water laced with PFAS, including PFOS

and/or PFOA, and/or their precursors to enter the environment in a variety of ways, including but

not limited to, onto soil and through groundwater.

                     PFOS and PFOA Pose an Imminent and Substantial
                   Endangerment to Human Health of New Jersey Residents

        32.     PFAS are a family of chemical compounds containing fluorine and carbon atoms.

PFAS have been used for decades to produce a variety of products—including AFFF—that are

heat resistant, stain resistant, long lasting, and water and oil repellant. The PFAS family of

chemicals is entirely manmade and does not occur in nature. PFOA and PFOS are the most


                                                  10
     2:21-cv-00146-RMG          Date Filed 01/14/21      Entry Number 1        Page 11 of 28




thoroughly studied PFAS chemicals. They bioaccumulate (build up in the body) and remain in

the body for many years after exposure ends, and they have been shown to be toxic at very low

concentrations.

       33.     PFOA and PFOS have characteristics that cause extensive and persistent

environmental contamination. Specifically, they are highly mobile and persistent. They are

mobile in that they are soluble in water and adsorb poorly (stick) to soil particles, rendering them

capable of being readily transported through the soil and into groundwater where they can

migrate long distances. And they are persistent in that they do not biodegrade or chemically

degrade in the environment or in conventional treatment systems for drinking water. As a result,

they have been widely dubbed “forever chemicals.”

       34.     The combined effects of their mobility and persistence in the environment,

coupled with their potent toxicity at extremely minute concentrations, render PFOS and PFOA

particularly dangerous contaminants for drinking water supplies derived from groundwater when

they are released into the subsurface environment. The unusually high propensity of PFOS and

PFOA to persist in the environment, as compared with conventional contaminants such as

petroleum hydrocarbons and chlorinated volatile organic compounds—CVOCs, has been found

to result in groundwater plumes extending from areas of discharge of up to 10 times longer than

conventional groundwater contaminants. Thus, the risk of contamination to water supplies

derived from groundwater presented by PFOS and PFOA render them capable of contaminating

water supplies at far greater distances from discharge source areas than in comparison to

conventional contaminants. In short, once PFAS are applied, discharged, disposed of, or

otherwise released onto land or water, those compounds migrate rapidly through the environment

and into groundwater, resist natural degradation, and create an unprecedented degree of causing



                                                11
     2:21-cv-00146-RMG          Date Filed 01/14/21      Entry Number 1        Page 12 of 28




harm to humans through the resulting contamination of drinking water supplies. It is difficult to

imagine a more dangerous contaminant for drinking water sources.

       35.     PFOA and PFOS bioaccumulate, biopersist, and biomagnify in people and other

organisms and are readily diffused in all environmental media, including surface water,

groundwater, and air, which can directly adversely affect New Jersey’s valuable drinking water

supplies. Consumption of very low concentrations of PFOA and/or PFOS in drinking water

overwhelms the exposures from other sources such as food and consumer products that are

prevalent in the general population, with increases in blood serum PFOA and PFOS levels more

than 100 times the concentrations of PFOA and PFOS in drinking water. Furthermore, PFOA

and PFOS body burdens remain elevated for many years after exposure to contaminated drinking

water ends.

       36.     PFOA and PFOS cause multiple toxic effects in laboratory animals, including

among others, tumors; liver damage; immune system suppression; reproductive,

neurobehavioral, endocrine (e.g., thyroid), and hematological (i.e., blood cell) effects; and

delayed growth and development of the fetus and offspring. Some of these effects occur at very

low doses.

       37.     PFOS and PFOA are associated with a variety of adverse health effects in humans

and are particularly dangerous for pregnant woman and children.

       38.     PFOS exposure is associated with immune system suppression including

decreases in antibody responses to vaccines and increases in risk of childhood infections and

increased serum cholesterol. PFOA exposure is associated with, among other things,

hypercholesteremia (i.e., high cholesterol); increases in certain liver enzymes (indicating liver

damage); testicular and kidney cancer; ulcerative colitis; immune system suppression including



                                                 12
     2:21-cv-00146-RMG           Date Filed 01/14/21      Entry Number 1       Page 13 of 28




decreases in antibody responses to vaccines; and developmental effects including pregnancy-

induced hypertension, preeclampsia, and decreased birthweight.

       39.       Fetuses and newborns are particularly sensitive to PFOS and PFOA toxicity.

Further, exposures to newborns are higher (compared to other subpopulations) through

breastmilk or prepared formula when drinking water is contaminated with PFOS and/or PFOA.

       40.       Recognizing the threat to human health posed by PFAS chemicals, EPA

established a drinking water Provisional Health Advisory level for short-term exposure to PFOS

of 0.2 parts per billion (200 ppt) and PFOA of 0.4 ppb (400 ppt) in 2009. Thereafter, in 2016,

EPA further revised those levels in its Lifetime Health Advisory for PFOS and PFOA, warning

that drinking water containing PFOA and PFOS above a combined value of 70 ppt poses a risk

of adverse human health effects. NJDEP concluded that EPA’s Lifetime Health Advisory of 70

ppt is not sufficiently protective of human health based on data from both laboratory animal and

human studies.

       41.       In order to protect its residents, in June 2020, NJDEP adopted more stringent

regulations than EPA’s Lifetime Health Advisory establishing MCLs and specific groundwater

criteria for PFOA (14 ppt) and PFOS (13 ppt), for purposes of drinking water requirements, site

remediation activities, and regulated discharges to groundwater. See N.J.A.C. 7:9C-1.7(c)1, 7:10-

5.2(a)(5).

       42.       Contamination that has entered or is likely to enter drinking water supplies and

sources thereof in New Jersey with PFOS and/or PFOA above the MCL levels presents an

imminent and substantial endangerment to human health of New Jersey’s residents.




                                                 13
     2:21-cv-00146-RMG          Date Filed 01/14/21       Entry Number 1        Page 14 of 28




        43.    The discharge of AFFF by the United States at federal facilities in New Jersey is a

significant source of PFOS and PFOA contamination in the environment and drinking water,

including public and non-public water systems such as private wells.

                           AFFF Use at United States Facilities and
               the Resulting PFAS Contamination of Drinking Water Supplies

        44.    The United States started to purchase and use AFFF-containing PFAS, including

PFOS, PFOA, and/or their precursors, in the 1970s for firefighting training activities and to

extinguish fuel-based fires at its facilities across the country, including in New Jersey.

        45.    Since that time, the United States has been one of the country’s largest users of

AFFF.

        46.    AFFF is discharged directly on the ground during emergencies as well as training

exercises and would revert from foam to a liquid solution allowing PFOS and/or PFOA to travel

to surrounding groundwater, causing contamination onsite and offsite. In addition to such

discharges, additional releases of PFAS-containing AFFF occurred via testing of equipment,

false alarms, equipment malfunctions, and other incidental releases over the decades at different

locations on federal facilities throughout the United States and New Jersey.

        47.    The United States has in recent years publicly acknowledged that there is a PFAS

crisis on and surrounding its facilities across the United States and New Jersey as a result of the

extraordinary degree of risk to human health presented by PFOS and PFOA contamination of

drinking water supplies. As a result, the United States has started to act to identify and address

such contamination.

        48.    The United States tested 524 Department of Defense (“DOD”) operated drinking

water systems between June 2016 and August 2017 and identified 24 such systems where the

drinking water exceeded EPA’s Lifetime Health Advisory level of 70 ppt for PFOS and PFOA.


                                                 14
     2:21-cv-00146-RMG          Date Filed 01/14/21       Entry Number 1        Page 15 of 28




The United States also sampled private drinking water wells in instances of a suspected or

known release that migrated offsite around the country, including in New Jersey at the Joint Base

McGuire-Dix-Lakehurst, Naval Weapons Station Earle, and the Naval Air Warfare Center

Trenton. As of August 2017, the United States tested 2,445 offsite public and nonpublic drinking

water systems throughout the country. Of those tested, 564 public or nonpublic drinking water

systems tested above EPA’s Lifetime Health Advisory level of 70 ppt.

          49.   As of August 2017, the DOD identified 401 facilities nationally with known or

suspected discharges of PFOS or PFOA where it sampled groundwater. To date, a total of 1,621

groundwater monitoring wells across 90 of these installations had concentrations in excess of

EPA’s Lifetime Health Advisory level of 70 ppt. As of the end of 2019, the DOD has expanded

the list of facilities to be sampled where there are known or suspected release of PFOS and/or

PFOA from 401 to 651 nationally.

          50.   In response to this human health crisis, the United States has started to take

action.

          51.   In a July 2019 public announcement, the Secretary of Defense announced the

establishment of the Per- and Polyfluoroalkyl Substances Task Force (“PFAS Task Force”) to

address a topic of growing concern—the release of PFAS by the United States into the

environment that was affecting hundreds of military facilities and the surrounding communities

around the country, including New Jersey. In order to protect the health and safety of service

members, their families, DOD civilian workforce, and the communities in which these facilities

are located, the PFAS Task Force has purportedly focused on three goals: (i) mitigating and

eliminating the use of AFFF containing PFOA and PFOS and/or their precursors, (ii)




                                                 15
     2:21-cv-00146-RMG          Date Filed 01/14/21       Entry Number 1       Page 16 of 28




understanding the impacts of PFAS on human health, and (ii) fulfilling cleanup responsibility

related to PFAS.

       52.     The 2020 National Defense Authorization Act (“NDAA”) requires the

development of PFAS-free foam and the phase out of AFFF but not until October 2024. Further,

the 2020 NDAA prohibits the use of AFFF for training exercises at military installations.

       53.     In its March 2020 progress report, the PFAS Task Force stated that in order to

protect service members and prevent release to the environment, the DOD only uses AFFF

containing PFAS to respond to emergency events. Further, the PFAS Task Force stated that the

DOD has taken actions to address PFAS contamination in drinking water, but only if the

drinking water exceeded EPA’s Lifetime Health Advisory level of 70 ppt.

       54.     Although on a more limited basis, existing stocks of AFFF containing PFAS

and/or their precursors are still stored and used at federal facilities for emergency responses in

New Jersey.

                PFAS Ongoing Contamination of Drinking Water Supplies at
             United States Facilities in New Jersey and Surrounding Communities

       55.     The United States has announced its intention to ensure that onsite drinking water

supplies containing 70 ppt or above of PFOS or PFOA are not used for human consumption. In

multiple communications with NJDEP, the United States has not committed to take action in a

timely manner to address the imminent and substantial endangerment to the human health of New

Jersey’s residents resulting from sources of PFOA and PFOS contamination in New Jersey’s

drinking water supplies to New Jersey’s mandated levels.

       56.     Investigations at the United States’ facilities in New Jersey continue, but those

completed to date have revealed elevated levels of PFOS and PFOA in groundwater at and

surrounding those facilities. Affected federal facilities in New Jersey include, but are not limited


                                                 16
     2:21-cv-00146-RMG          Date Filed 01/14/21     Entry Number 1       Page 17 of 28




to the Joint Base McGuire-Dix-Lakehurst (“JBMDL”), Naval Weapons Station Earle, and the

Naval Air Warfare Center Trenton. Groundwater surrounding these facilities is used for, among

other things, private wells supplying drinking water.

       57.     JBMDL is a tri-service, joint-installation partnership complex comprised of the

McGuire Air Force Base (“McGuire”), the Naval Air Engineering Station Lakehurst (“NAES-

Lakehurst”), and the Fort Dix Army Base (“Fort Dix”). The tri-service bases were combined in

October 2009, forming JBMDL. McGuire is the home of the 305th Air Mobility Wing. Land

uses on JBMDL include administrative, aircraft operations and maintenance, airfield,

community, housing, industrial, medical, open space, outdoor recreation, and water. The

majority of the 3,596-acre base is airfield supporting two active runways. The Fort Dix area is a

permanent Class 1 Army installation with an area of approximately 30,697 acres. The NAES-

Lakehurst encompasses 7,382 acres and has been used continuously for research, maintenance,

firefighter training, testing, and disposal activities by the Navy since the 1920s. The JBMDL

installation covers approximately 42,000 contiguous acres of federal property to meet mission

needs. This combined installation complex is surrounded by an additional 58,000 acres of state

and federally managed land to protect against encroachment.

       58.     More than 45,000 active duty, guard, reserve, civilian personnel and family

members, live and work on and around JBMDL. JBMDL is located 18 miles southeast of

Trenton, New Jersey. The combined population of municipalities surrounding JBMDL is

approximately 600,000 people.

       59.     Decades of AFFF use throughout JBMDL has demonstrably contaminated

groundwater on and around the joint base.




                                                17
     2:21-cv-00146-RMG         Date Filed 01/14/21      Entry Number 1       Page 18 of 28




       60.     Offsite, the United States has done limited sampling of drinking water supplies,

which revealed that PFAS contamination has migrated offsite and three private drinking water

wells exist near the base with combined levels of PFOS and PFOA in exceedance of New

Jersey’s MCLs, ranging from 152 ppt to 1,688 ppt. Failure by the United States to act has forced

NJDEP to conduct its own sampling given the endangerment to human health from the

contamination and provide alternate water supply for impacts in excess of New Jersey’s MCLs.

       61.     The results of NJDEP’s 2018 Waterways Study has provided an initial

understanding of the offsite contamination caused by AFFF-related activities on JBMDL. With

respect to onsite contamination, sampling in 2016 of 21 suspected release areas across the joint

base revealed significant contamination of groundwater, with groundwater monitoring wells

showing combined levels of PFOS and PFOA as high as 264,300 ppt.

       62.     There are also two Navy bases in New Jersey where use of AFFF has

contaminated the sites and is impacting surrounding private wells. One such base is the Naval

Weapons Station Earle (“NWS Earle”). NWS Earle is located in Monmouth County, New Jersey,

approximately 47 miles south of New York City and approximately 69 miles northeast of

Philadelphia. NWS Earle consists of two areas, the 10,248-acre mainside area (located inland),

and the 706-acre waterfront area. A Navy-controlled right-of-way containing a private road and

rail line connects the two base areas. The Navy commissioned the facility in 1943, and its

primary mission is to supply ammunition to the Atlantic fleet. An estimated 1,200 people either

work or live at NWS Earle. The mainside area is located approximately 10 miles inland from the

Atlantic Ocean in Colts Neck, Howell, and Wall Townships and Tinton Falls Borough. The

combined population of these municipalities is approximately 100,000 people.




                                               18
     2:21-cv-00146-RMG          Date Filed 01/14/21      Entry Number 1        Page 19 of 28




          63.   At the Earle Military Sealift Command Fire Training School (“Earle MSC”), nine

onsite groundwater monitoring wells revealed combined levels of PFOS and PFOA ranging from

75 ppt to 2,900 ppt. Two offsite nearby private wells located approximately one-half mile

downgradient from the Earle MSC had combined levels of PFOS and PFOA above 70 ppt. The

United States provided public water line connections for these affected residences. Two other

private wells in the same neighborhood have elevated levels of PFOS and/or PFOA that do not

exceed 70 ppt individually or combined, but do exceed NJDEP’s MCLs, and the United States

has not taken any steps to address this contamination and the resulting endangerment to human

health.

          64.   The former Naval Air Warfare Center in Trenton is located approximately 5 miles

northwest of Trenton, 30 miles northeast of Philadelphia, and 2 miles north-northeast of the

Delaware River. The facility consists of approximately 66 acres in Ewing Township, Mercer

County, New Jersey. Mercer County has an approximate population of 360,000. Operational

closure of the facility occurred on December 15, 1998, under the Base Realignment and Closure

Act of 1993. Prior to this date, the facility, commissioned in 1951 by the Navy, was primarily

used as a testing facility for military aircraft performance under simulated high and low altitude

conditions. Despite its closure, the Navy remains responsible for environmental remediation

activities related to former operations at the site. As part of those operations, the Navy maintains

and operates a groundwater pump-and-treat remedy for site groundwater. Routine long-term and

system performance monitoring programs are in place.

          65.   Twenty-three of 38 onsite groundwater monitoring wells at the Naval Air Warfare

Center revealed combined levels of PFOS and PFOA ranging from 178 ppt to 27,800 ppt.




                                                 19
     2:21-cv-00146-RMG           Date Filed 01/14/21     Entry Number 1       Page 20 of 28




Sampling of at least one offsite groundwater monitoring well revealed a combined PFOS and

PFOA level of 112 ppt.

        66.     Limited sampling at these Navy bases, as well as the use of higher criteria for

sampling by the United States, only provides a limited understanding of the extent of

contamination around these sites endangering hundreds of thousands of New Jersey residents.

        67.     In some cases at the foregoing United States’ facilities, the exceedances are

within wellhead protection areas onsite and/or offsite and, in some cases, involve private wells

within or outside wellhead protection areas.

        68.     As investigation of AFFF-related contamination continues, it is expected that

additional PFOA and PFOS will be detected not only in the immediate site areas, but in

surrounding areas as well. Such investigation is necessary to ascertain the full scope of PFOS

and PFOA contamination and to treat and/or return impacted drinking water supplies to levels

below New Jersey’s mandated MCLs that are safe for human health. The United States is liable

for the cost of such investigation, treatment and remediation.

                                         FIRST COUNT
                       Violations of the Federal Safe Drinking Water Act
                                    (42 U.S.C. §§ 300f et seq.)

        69.     Plaintiff repeats each of the allegations in the paragraphs 1 through 68 above as

though fully set forth herein in their entirety.

        70.     The PFOS and PFOA contamination of drinking water at or impacted by its

facilities in excess of New Jersey’s MCLs for PFOS (13 ppt) and PFOA (14 ppt) presents an

imminent and substantial endangerment to human health within the meaning of 42 U.S.C. § 300i.

        71.     The imminent and substantial endangerment provision of SDWA allows the

Plaintiff to “take such actions as [it] may deem necessary” in order to protect the health of New



                                                   20
     2:21-cv-00146-RMG          Date Filed 01/14/21       Entry Number 1       Page 21 of 28




Jersey residents if it possesses “information that a contaminant which is present in or is likely to

enter a public water system or an underground source of drinking water . . . may present an

imminent and substantial endangerment to the health of persons.” 42 U.S.C. § 300i.

       72.     Pursuant to the imminent and substantial endangerment provision, Plaintiff can

“commenc[e] a civil action for appropriate relief, including a restraining order or permanent or

temporary injunction.” 42 U.S.C. § 300i(a). “Any person” who violates or fails to comply with

an order issued by NJDEP may be enjoined and/or be subject to civil penalties. See id. A

“person” is defined under SDWA as “an individual, corporation, company, association,

partnership, State, municipality, or Federal agency (and includes officers, employees, and agents

of any corporation, company, association, State, municipality, or Federal agency).” Id. §

300f(12) (emphasis added).

       73.     Moreover, pursuant to the “federal agencies” provision of SDWA, any federal

agency that “(1) own[s] or operat[es] any facility in a wellhead protection area; (2) engage[s] in

any activity at such facility resulting, or which may result, in the contamination of water supplies

in any such area; or (3) own[s] or operat[es] any public water system . . . shall be subject to, and

comply with, all Federal, State, interstate, and local requirements, both substantive and

procedural (including any requirement for permits or reporting or any provisions for injunctive

relief and such sanctions as may be imposed by a court to enforce such relief), respecting the

protection of such wellhead areas, respecting such public water systems, and respecting any

underground injection in the same manner and to the same extent as any person is subject to such

requirements, including the payment of reasonable service charges.” 42 U.S.C. 300j-6(a).

       74.     NJDEP may “commen[e] a civil action” against any federal agency that violates

SDWA. 42 U.S.C. 300j-6(a). The United States includes federal agencies, and the provision



                                                 21
     2:21-cv-00146-RMG           Date Filed 01/14/21       Entry Number 1      Page 22 of 28




broadly waives those agencies’ sovereign immunity to suit under SDWA. See id. EPA has

delegated authority to the Plaintiff to act as the primacy agency for the enforcement of SDWA in

New Jersey. See 44 Fed. Reg. 69003-2 (Nov. 30, 1979).

       75.       The United States has engaged and is engaging in activities that have caused or

contributed to an imminent and substantial endangerment to the health of New Jersey water

users, whose drinking water contains PFOA and/or PFOS in excess of New Jersey’s MCLs. See

42 U.S.C. § 300i(a).

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that this Court enter judgment against the United

States as follows:

       a. Finding, pursuant to 42 U.S.C. § 300i(a), the United States liable for all costs to

             investigate, clean up and remove, treat, monitor, and otherwise respond to PFOS and

             PFOA contamination at and around the United States’ facilities throughout New

             Jersey where AFFF was transported, stored, used, handled, released, spilled, and/or

             disposed so the contaminated and threatened drinking water supplies are treated and

             remediated and for such orders as may be necessary to provide full relief to address

             risks to the State of New Jersey, including the costs of:

                1)      Past and future testing of groundwater affecting or which may affect

                        drinking water supplies at and around the United States’ facilities

                        throughout New Jersey where AFFF was transported, stored, used,

                        handled, released, spilled, and/or disposed, and thus, likely caused PFOS

                        and/or PFOA contamination;




                                                  22
2:21-cv-00146-RMG        Date Filed 01/14/21      Entry Number 1       Page 23 of 28




        2)      Past and future treatment and remediation of groundwater affecting or

                which may affect drinking water supplies at and around the United States’

                facilities throughout New Jersey where AFFF was transported, stored,

                used, handled, released, spilled, and/or disposed and which contain levels

                of PFOS and/or PFOA in excess of New Jersey’s MCLs until remediated

                to acceptable levels; and

        3)      Past and future monitoring of groundwater affecting or which may affect

                drinking water supplies at and around the United States’ facilities

                throughout New Jersey where AFFF was transported, stored, used,

                handled, released, spilled, and/or disposed;

 b. Ordering, pursuant to 42 U.S.C. § 300i(a), the United States to pay for all costs

    related to the investigation, cleanup, treatment, and monitoring of PFOS and/or PFOA

    contamination and threatened contamination of New Jersey’s drinking water supplies

    at and around the United States’ facilities throughout New Jersey;

 c. Ordering, pursuant to 42 U.S.C. § 300i(a), the United States to provide, or pay for

    the provision of, an alternative water supply for any and all drinking water supplies

    that are presently contaminated in excess of New Jersey’s MCLs for PFOA and/or

    PFOS at and around the United States’ facilities throughout New Jersey;

 d. Ordering, pursuant to 42 U.S.C. § 300i(a), the United States to pay for the cost of

    medical monitoring of residents whose drinking water supplies are known or are

    determined to have been contaminated in excess of New Jersey’s MCLs for PFOA

    and/or PFOS at and around the United States’ facilities throughout New Jersey;




                                            23
     2:21-cv-00146-RMG            Date Filed 01/14/21       Entry Number 1        Page 24 of 28




        e. Ordering, pursuant to 42 U.S.C. § 300i(a), the United States to abate or mitigate the

              PFOS and/or PFOA groundwater contamination affecting or which may affect

              drinking water supplies that they caused at and around the United States’ facilities

              throughout New Jersey;

        f. Awarding Plaintiff costs and fees in this action, including reasonable attorneys’ fees

              incurred in prosecuting this action, together with prejudgment interest, to the fullest

              extent permitted by law; and

        g. Awarding Plaintiff such other relief as this Court deems appropriate.

                                         SECOND COUNT
                       Violations of the New Jersey Safe Drinking Water Act
                                    (N.J.S.A. §§ 58:12A-1 et seq.)

        76.      Plaintiff repeats each of the allegations in the paragraphs 1 through 75 above as

though fully set forth herein in their entirety.

        77.      The PFOS and PFOA contamination in excess of New Jersey’s MCLs for PFOS

(13 ppt) and PFOA (14 ppt) caused by the United States as described above presents an

“imminent and substantial endangerment to health of persons” within the meaning of N.J.S.A. §

58:12A-6 by exposing water users in New Jersey to PFOS and PFOA in drinking water.

        78.      The imminent and substantial endangerment provision of NJSDWA allows

Plaintiff to “take such actions as [it] may deem necessary” in order to protect the health of New

Jersey residents “upon receipt of information that a contaminant which is present in or is likely to

enter a water system may present an imminent and substantial to the health of persons.” N.J.S.A.

§ 58:12A-6.

        79.      Pursuant to the imminent and substantial endangerment provision, Plaintiff can

“bring a civil action” against any “person” who violates NJSDWA. See id. A “person” is defined



                                                   24
     2:21-cv-00146-RMG         Date Filed 01/14/21       Entry Number 1       Page 25 of 28




under NJSDWA as “any individual, corporation, company, firm, association, partnership,

municipality, county, State agency or federal agency.” Id. § 58:12A-3(j) (emphasis added).

       80.      The United States has engaged and is engaging in activities that have caused or

contributed to an imminent and substantial endangerment to the health of New Jersey residents

whose drinking water contains PFOA and/or PFOS in excess of New Jersey’s MCLs. See

N.J.S.A. § 58:12A-6.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that this Court enter judgment against the United

States as follows:

       a.      Finding, pursuant to N.J.S.A. § 58:12A-6, the United States liable for all costs to

               investigate, cleanup, remove, treat, monitor, and otherwise respond to PFOS and

               PFOA contamination affecting or which may affect water supplies at and around

               the United States’ facilities throughout New Jersey where AFFF was transported,

               stored, used, handled, released, spilled, and/or disposed so the contaminated

               drinking water supplies are treated and remediated and for such orders as may be

               necessary to provide full relief to address risks to New Jersey, including the costs

               of:

               1)      Past and future testing of groundwater affecting or which may affect

                       drinking water supplies at and around the United States’ facilities

                       throughout New Jersey where AFFF was transported, stored, used,

                       handled, released, spilled, and/or disposed and, thus, likely caused PFOS

                       and/or PFOA contamination;




                                                25
2:21-cv-00146-RMG        Date Filed 01/14/21       Entry Number 1       Page 26 of 28




       2)        Past and future treatment and remediation of groundwater affecting or

                 which may affect drinking water supplies at and around the United States’

                 facilities throughout New Jersey where AFFF was transported, stored,

                 used, handled, released, spilled, and/or disposed and which contain levels

                 of PFOS and/or PFOA in excess of New Jersey’s MCLs until remediated

                 to acceptable levels; and

       3)        Past and future monitoring of groundwater affecting or which may affect

                 drinking water supplies at and around the United States’ facilities

                 throughout New Jersey where AFFF was transported, stored, used,

                 handled, released, spilled, and/or disposed;

 b.    Ordering, pursuant to N.J.S.A. § 58:12A-6, the United States to pay for all costs

       related to the investigation, cleanup, treatment, and monitoring of PFOS and/or

       PFOA groundwater contamination affecting or which may affect New Jersey’s

       drinking water supplies at and around the United States’ facilities throughout New

       Jersey;

 e.    Ordering, pursuant to N.J.S.A. § 58:12A-6, the United States to provide, or pay

       for the provision of, an alternative water supply for any and all drinking water

       supplies that are presently contaminated in excess of New Jersey’s MCLs for

       PFOS or PFOA at and around the United States’ facilities throughout New Jersey;

 f.    Ordering, pursuant to N.J.S.A. § 58:12A-6, the United States to pay for the cost of

       medical monitoring of residents whose drinking water supplies are known or are

       determined to have been contaminated in excess of New Jersey’s MCLs for PFOS

       or PFOA at and around the United States’ facilities throughout New Jersey;



                                             26
    2:21-cv-00146-RMG           Date Filed 01/14/21       Entry Number 1           Page 27 of 28




       g.      Ordering, pursuant to N.J.S.A. § 58:12A-6, the United States to abate or mitigate

               the PFOS and/or PFOA groundwater contamination affecting or which may affect

               drinking water supplies that they caused at and around the United States’ facilities

               throughout New Jersey;

       h.      Awarding Plaintiff costs and fees in this action, including reasonable attorneys’

               fees, incurred in prosecuting this action, together with prejudgment interest, to the

               fullest extent permitted by law; and

       i.      Awarding Plaintiff such other relief as this Court deems appropriate.

                                         JURY DEMAND

       Plaintiff is entitled to a jury trial and hereby demands a trial by jury.

Dated: January 14, 2021
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                                                 27
2:21-cv-00146-RMG   Date Filed 01/14/21   Entry Number 1     Page 28 of 28




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                                  28
